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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      July 9, 2020

BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:       United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

        The Government respectfully submits this letter on behalf of both parties, pursuant to the
Court’s July 6, 2020 Order (Dkt. 93), to apprise the Court of the outcome of the parties’
discussions regarding a schedule for pretrial disclosures. Although the parties conferred by
telephone on July 7, 2020, we have not been able to agree on a schedule in all respects and
therefore request that the Court issue a ruling setting a schedule for the disclosure of witness and
exhibit lists. 1

       The Government’s Proposal

       The Government proposes the following schedule:

             •   1 week before in limine motions are due: Government must identify any evidence
                 it expects to offer pursuant to Federal Rule of Evidence 404(b).

             •   4 weeks before trial: Government must identify potential exhibits it may
                 introduce, and witnesses it may call, in its case-in-chief.

             •   2 weeks before trial: Defendant must identify potential exhibits he may introduce
                 in the defense case, including non-impeachment exhibits he may introduce in



1
  With respect to material covered by 18 U.S.C. § 3500 (“3500 material”) and impeachment/Gilgio
material, the parties have reached agreement that the Government will begin producing such
material on a rolling basis beginning six weeks before trial, provided that the defendant agrees to
reasonable stipulations as to evidence and custodians for which there exists no serious dispute.
The defendant has agreed in principle, while reserving his rights as to particular stipulations.
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               connection with cross examination of the Government’s witnesses, and witnesses
               he may call, in the defense case. 2

         The Government respectfully submits that this proposed schedule is entirely consistent
with the pretrial disclosure schedules regularly set in this district for complex, white-collar cases,
particularly given that, here, the Government’s case-in-chief is expected to be significantly
shorter than four weeks. See, e.g., United States v. Ng, 15 Cr. 706 (VSB) (five-week trial;
exhibit list produced on rolling basis beginning four weeks before trial and completed two weeks
before trial; witness list produced two weeks before trial); United States v. Skelos, 15 Cr. 317
(KMW) (two-defendant, month-long bribery trial; exhibit list produced approximately four
weeks before trial); United States v. Silver, 15 Cr. 93 (VEC) (month-long bribery trial; exhibit
and witness lists produced approximately three weeks before trial); United States v. Ulbricht, 14
Cr. 68 (KBF) (three-week cybercrime and narcotics trial; exhibit and witness lists produced
approximately one month before trial); United States v. Tagliaferri, 13 Cr. 115 (RA) (three-week
securities fraud trial; exhibit and witness lists produced seventeen days before trial); United
States v. Costanza, 12 Cr. 725 (KMW) (two-defendant, multi-week fraud trial; exhibit list
produced two weeks before trial); United States v. Whitman, 12 Cr. 125 (JSR) (three-week
insider trading trial; exhibit and witness lists produced two weeks before trial); United States v.
Gupta, 11 Cr. 907 (JSR) (three-week insider trading trial; exhibit and witness lists produced
three weeks before trial); United States v. Jiau, 11 Cr. 161 (JSR) (three-week insider trading
trial; exhibit and witness lists produced two weeks before trial); United States v. Fleishman, 11
Cr. 32 (JSR) (three-week insider trading trial; exhibit and witness lists produced one week before
trial).

        While the Government appreciates that the COVID-19 pandemic imposes certain
difficulties for both parties in preparing for trial, and it certainly has no intention of unduly
delaying its identification of 404(b) evidence or exhibits, the Government believes those
difficulties only further counsel against requiring the parties to accelerate the process of marking
and identifying their respective exhibits, a process that will inevitably be more cumbersome and
logistically difficult for both sides than in ordinary times. Accordingly, the Government
respectfully submits that the disclosure schedule set forth above—which, as noted, is consistent
with disclosure timelines routinely adopted in other cases of similar complexity—is appropriate
here as well and should be adopted.

       Mr. Calk’s Proposal

        The defense is agreeable to the government’s proposed schedule with one exception. We
respectfully submit that the government should disclose its exhibits and witness list six weeks
prior to trial, and the defendant should make its disclosures two weeks later. Six weeks is within
the range proposed by the government itself while our discovery motion was pending, and
certainly reasonable in the context of this case and the impediments to trial preparation posed by
COVID-19.


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 The Government proposes that these periods of time will exclude federal holidays and the day
after Thanksgiving.
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         First, as the government argued when it sought to adjourn trial until January 2021, the
COVID-19 pandemic creates logistical issues that make trial preparation far more difficult than
in normal times. This is particularly true in a document-intensive case like this one. Indeed,
when it was in its interest to do so, the government pointed to the “complexity of this case and
the need for intensive trial preparation to commence substantially in advance of the scheduled
trial date.” (Joint Letter Mot. at 2, ECF No. 89; see also id. at 1 (“preparations for a trial of this
magnitude and complexity need to begin in earnest at least several months prior to a trial
date.”)). Those considerations apply equally, if not more so, to the defense, which will be
hampered in the critical weeks before jury selection as it reacts to the government’s disclosures,
conducts further investigation of its own, and prepares its case for trial. The notion that these
concerns are outweighed by the pandemic’s impact on the government’s ability to mark and
identify its exhibits (supra para. 4) is not credible, particularly where, as here, the government
has nearly four months to do so, and is already aware of the “substantial majority” of its
anticipated evidence. (Hearing Tr. at 18:15-18, July 2, 2020).

       Second, the week preceding trial is Thanksgiving week. While all of our holidays will
necessarily be abbreviated, we do not think it unreasonable that the disclosure schedule provide
some accommodation for observance of the holiday and the fact that witnesses may be
unavailable that week, particularly where there is no discernable prejudice to the government.

        Finally, it is not so unusual, as the government suggests, to require disclosure of exhibits
and witnesses more than four weeks before trial. Indeed, in another case presently pending
before this Court, the government’s disclosures are due five weeks before trial. See Order,
United States v. Sharma, 18 Cr. 340 (LGS) (S.D.N.Y.), ECF No. 337. 3 And again, given that the
government previously told the Court and the defense that it was contemplating making these
disclosures “4 to 6 weeks” prior to trial, (see Mem. of Law at 8 n.6, ECF No. 68; Opp. at 12,




3
 In a previous scheduling order in Sharma, the Court ordered disclosure of 3500 material seven
weeks before trial, one week earlier than here. See Order at ECF No. 294.
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ECF No. 74), it is not credible to suggest that a six-week period is unprecedented and
unreasonable. 4



                                              Respectfully submitted,

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cc: Counsel of Record (via ECF)




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   We note that at the July 2, 2020 conference, the government suggested that “the precise timing”
of its disclosures would be tied to the defense’s willingness to negotiate reasonable custodial
stipulations, because “that might change the amount of preparation time that the government has
to devote to that versus exhibits.” (Hearing Tr. at 25:17-25). As noted in the government’s portion
of this letter, (supra n.1), the defense has advised the government that it is willing to do so. The
government has nonetheless chosen to stick to the bottom of its previously proposed range.
